           Case 2:19-cv-03326-KSM Document 236 Filed 05/24/22 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



AUDRA MCCOWAN et al                          :         CIVIL ACTION
                                             :
                                             :
               v.                            :
                                             :
                                             :
CITY OF PHILADLEPHIA, et al.,                :         NO. 19-3326



                                    CIVIL JUDGMENT


         AND NOW, this 24th day of May 2022, in accordance with the verdict sheet, IT IS
ORDERED that judgment is entered in favor of Plaintiff, Audra McCowan in the amount of
$500,000.00 and Plaintiff, Jennifer Allen in the amount of $500,000.00 and against the
Defendant, City of Philadelphia.


                                                 BY THE COURT:



                                                 ATTEST:     /s/ Lara Karlson
                                                                     Deputy Clerk




Civ 1 (4/21)
